
By the Court.—Freedman, J.
Upon the facts disclosed at the trial the question of negligence on the part of the person having charge of .the infant-plaintiff at the time of the occurrence complained of, and the question of defendant’s negligence, were questions for the jury, and they were fully and fairly submitted under a charge which carefully guarded every right which the defendant had. There was no error in the charge or the refusals to charge otherwise, and the jury were expressly instructed to determine the case upon their own recollection of the evidence and not upon any allusion of the trial judge as to his recollection of *556certain particulars. Nor can it be held that, under all the circumstances, the verdict of $12,000, for the loss of plaintiff’s leg, and the suffering connected with it, is excessive in amount. Upon the whole case no substantial reason appears why the verdict of the jury should be disturbed.
The judgment and order should be affirmed, with costs.
Dugro and Gildersleeve, JJ., concurred.
